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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                   Plaintiff,

             vs.                                          Case No. 21-cr-28

JAMES D. BEEKS,

                   Defendant.


     UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE

      James Beeks, by counsel, moves the Court to modify his conditions of

release. Specifically, Beeks seeks to modify the condition that he reside in the

Middle District of Florida, to a condition that he reside in the Northern District of

Ohio. After his arrest in this matter, Beeks’s employer put him on unpaid leave.

He has since struggled financially, and is no longer able to afford housing in the

Orlando area. He plans to move in with a longtime friend just outside Cleveland,

Ohio. He plans to leave Florida by car on March 9 or 10, 2022. He plans to stop in

Robinsville, North Carolina and spend a few days with his family,

before continuing on to Ohio. He plans to be in Ohio by March 16, 2022.
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        In Ohio, Beeks will reside at

                 with his friend                                .1 Beeks will reside in the home’s

spare bedroom, rent free, through the remainder of the case.                                             is

a single parent who owns and operates a landscaping company. He owns a firearm

but has agreed to remove it from his home while Beeks resides with him.

                  has no criminal history or connection to the Oath Keepers or any

other similar organization or militia.

        Beeks has provided all of this information to both pretrial services and the

government. Neither opposes Beeks’s request to move to the Northern District of

Ohio or stop in the Western District of North Carolina from approximately March

9 to March 16. Beeks will remain on location monitoring throughout, and continue

on location monitoring once in Ohio.2 The pretrial services office in Florida has

submitted a request to the pretrial office in the Northern District of Ohio for

courtesy supervision.

         For the reasons herein, Beeks respectfully asks that the Court enter an order

modifying his release conditions to permit him to reside in the Northern District

of Ohio. He further seeks permission to travel to the Western District of North

Carolina from March 9 to March 16, on his to the Northern District of Ohio.



1 Due to the inclusion of personal identifying and address information, Beeks files this motion under seal.
The defense can provide a redacted copy of the motion on the docket.
2 Beeks intends to seek removal of location monitoring once he’s settled in Ohio.
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Dated at Milwaukee, Wisconsin, this 7th day of March, 2022.

                        Respectfully submitted,

                        /s/ Joshua D. Uller
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